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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

IN RE:                                         )
                                               )
John Paul Rapier                               )                     Case No. 18-12579
                                               )                     Chapter 7
       Debtor​,                                )

         DEBTOR’S MOTION TO AVOID JUDICIAL LIENS ON REAL ESTATE


       COMES NOW​​, John Paul Rapier (“Debtor”), by counsel, and hereby moves this Court

to avoid seven (7) judicial liens held by Mary Washington Hospital, Inc. (“Creditor”) against

Debtor’s residence located at 89 Clark Patton Road, Fredericksburg, VA 22406 (“residence”),

pursuant to 11 U.S.C. Sec. 522(f). The grounds are respectfully stated as follows:

       1.      Debtor commenced this case on 7/24/18 by filing a voluntary petition for relief

under Chapter 7 of Title 11 of the United States Bankruptcy Code.

       2.      This court has jurisdiction over this motion, filed pursuant to 11 U.S.C. Sec.

522(f) to avoid and cancel a judicial lien held by on real property used as the debtor's residence,

under 28 U.S.C. Sec. 1334.

       Judicial Lien #1

       3.      On April 10, 2006, the Creditor recorded a judicial lien against the debtor’s

residence. The judgment was obtained on January 9, 2003 in the amount of $817.34, plus costs

of $34.00, and is attached hereto as “​Exhibit A​”.

       Judicial Lien #2

4.     On April 10, 2006, the Creditor recorded a judicial lien against the debtor’s residence.
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The judgment was obtained on January 9, 2004 in the amount of $859.65, plus costs of $35.00,

and is attached hereto as “​Exhibit B​”.

       Judicial Lien #3

       5.      On April 10, 2009, the Creditor recorded a judicial lien against the debtor’s

residence. The judgment was obtained on February 14, 2003 in the amount of $3,412.05, plus

costs of $34.00, and is attached hereto as “​Exhibit C​”.

       Judicial Lien #4

       6.      On April 14, 2009, the Creditor recorded a judicial lien against the debtor’s

residence. The judgment was obtained on February 24, 2009 in the amount of $319.59, plus costs

of $51.00, and is attached hereto as “​Exhibit D​”.

       Judicial Lien #5

       7.      On April 16, 2010, the Creditor recorded a judicial lien against the debtor’s

residence. The judgment was obtained on January 26, 2010 in the amount of $12,073.75, plus

costs of $51.00, and is attached hereto as “​Exhibit E​”.

       Judicial Lien #6

       8.      On April 16, 2010, the Creditor recorded a judicial lien against the debtor’s

residence. The judgment was obtained on October 1, 2002 in the amount of $613.10, plus costs

of $32.00, and is attached hereto as “​Exhibit F​”.

       Judicial Lien #7

       9.      On April 16, 2010, the Creditor recorded a judicial lien against the debtor’s

residence. The judgment was obtained on February 23, 2010 against Luther Bruce Dalman in the

amount of $3,525.29, plus costs of $53.00, and is attached hereto as “​Exhibit G​”. Mr. Dalman
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subsequently passed away and debtor inherited his entire estate, including the residence and

attached judgment liens.

          8.     The debtor's interest in the residence encumbered by the liens has been claimed

as fully exempt in their bankruptcy case. A copy of the homestead deed recorded by Debtor is

attached hereto as “​Exhibit H​”.

          9.     The existence of the liens on debtor's real property, which total a value of

$21,060.67, impair exemptions to which the debtor(s) would be entitled under 11 U.S.C. Sec.

522(b).

          WHEREFORE, Debtor, by counsel, respectfully requests that this Court enter an Order

against Mary Washington Hospital avoiding and canceling their judicial liens in the

above-mentioned property, and for such additional or alternative relief as may be just and proper.

                                                               AP LAW GROUP, PLC

                                                       /s/ Ashvin Pandurangi
                                                       Ashvin Pandurangi, Bar #86966
                                                       AP Law Group, PLC
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                                                       Falls Church, VA 22043
                                                       Tel: (571) 969-6540
                                                       Fax: (571) 699-0518
                                                       Counsel for Debtor
                                    CERTIFICATE OF SERVICE

                 I hereby certify that on the 15th day of October, 2018 a true copy of the foregoing

Motion to Avoid Judicial Lien was sent via ECF to the Chapter 7 Trustee, and via first class mail,

postage prepaid to the Creditor at 12000 Kennedy Lane, Ste 100, Fredericksburg, VA 22407.

                                                       /s/ Ashvin Pandurangi_​___________
                                                       Ashvin Pandurangi, Esq.
